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                EXHIBIT F
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        US9173154                                                  HCL Sametime (“The Accused Product”)
1. A method of enabling     The accused product discloses a method of enabling a wireless handheld cellular phone device (e.g., Smartphone),
a wireless handheld         located in a region, to initiate a network connection (e.g., SIP Invite) without using a network operator's home
cellular phone device,      location register that covers that region.
located in a region, to
initiate a network          The accused product uses Internet or IP network for calling. As shown below, the accused product doesn’t make use
connection without          of home location register (e.g., HLR).
using a network
operator's home location
register that covers that
region, comprising the
steps of:




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(a) the wireless          The wireless handheld cellular phone device (e.g., Smartphone) using a module (e.g., HCL Sametime application)
handheld cellular phone   that is responsible for contacting a server (e.g., HCL Sametime server) to communicate with the server (e.g., HCL
device using a module     Sametime server) over a wireless link (e.g., Wi-Fi/Cellular link), wherein the wireless handheld cellular phone device
that is responsible for   (e.g., Smartphone) includes the module (e.g., HCL Sametime application) that is implemented as software and that
contacting a server to    is downloadable to the wireless handheld cellular phone device (e.g., Smartphone).
communicate with the
server over a wireless
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link, wherein the device
includes the module that
is implemented as
software and that is
downloadable to the
device;




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(b) the wireless             The wireless handheld cellular phone device (e.g., Smartphone) using the module (e.g., HCL Sametime application)
handheld cellular phone      to send, over the wireless link (e.g., Wi-Fi/Cellular link), data to the server (e.g., HCL Sametime server) that defines
device using the module      a call request (e.g., Invite signal from caller to server).
to send, over the
wireless link, data to the
server that defines a call
request;
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(c) in response to the      In response to the call request (e.g., Invite signal from caller to server), a software application (e.g., software
call request, a software    pertaining to SIP proxy running at HCL server to route/manage calls) running on the server (e.g., HCL Sametime
application running on      Server) deciding on the appropriate routing (e.g., Invite signal from server to callee) to a third party end-user (e.g.,
the server deciding on      Other users using HCL Sametime) over all available networks for that call request (e.g., Invite signal from caller to
the appropriate routing     server) without using the network operator's home or visitor location register.
to a third party end-user
over all available
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networks for that call
request without using
the network operator's
home or visitor location
register.




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11. The method of claim The module (e.g., HCL Sametime application) establishes and control communication (e.g., SIP communication)
1 in which the module    between the wireless device (e.g., Smartphone) and the server (e.g., HCL Sametime server).
establishes and controls
communication between
the device and the
server.
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22. A system              The accused product discloses a system comprising a wireless handheld cellular phone device (e.g., Smartphone)
comprising a wireless     located in a region and a server (e.g., HCL Sametime Server) for enabling the wireless handheld cellular phone device
handheld cellular phone   (e.g., Smartphone) to communicate with the server (e.g., HCL Sametime Server) to initiate a network connection
device located in a       (e.g., SIP Invite) without using a network operator's home location register that covers that region, wherein the server
region and a server for   includes a software application (e.g., software running at HCL Sametime server to route/manage calls) that functions
enabling the wireless     as a calls manager.
handheld cellular phone
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device to communicate
with the server to
initiate a network
connection without
using a network
operator's home location
register that covers that
region, wherein the
server includes a
software application that
functions as a calls
manager, wherein:




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(a) the wireless           The wireless handheld cellular phone device (e.g., Smartphone) is operable using a module (e.g., HCL Sametime
handheld cellular phone    application) that is responsible for contacting a server (e.g., HCL Sametime server) to communicate with the server
device is operable using   (e.g., HCL Sametime server) over a wireless link (e.g., Wi-Fi/Cellular link), wherein the wireless handheld cellular
a module that is           phone device (e.g., Smartphone) includes the module (e.g., HCL Sametime application) that is implemented as
responsible for            software and that is downloadable to the wireless handheld cellular phone device (e.g., Smartphone).
contacting the server to
communicate with the
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server over a wireless
link, wherein the device
includes the module that
is implemented as
software and that is
downloadable to the
device;




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(b) the wireless           The wireless handheld cellular phone device (e.g., Smartphone) is operable using the module (e.g., HCL Sametime
handheld cellular phone application) to send, over the wireless link (e.g., Wi-Fi/Cellular link), data to the server (e.g., HCL Sametime server)
device is operable using that defines a call request (e.g., Invite signal from caller to server).
the module to send, over
the wireless link, data to
the server that defines a
call request;
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(c) in response to the      In response to the call request (e.g., Invite signal from caller to server), the calls manager software (e.g., software
call request, the calls     pertaining to SIP proxy running at HCL server to route/manage calls) included on the server (e.g., HCL Sametime
manager software            Server) is operable to decide on the appropriate routing (e.g., Invite signal from server to callee) to a third party end-
included on the server is   user (e.g., Other users using HCL Sametime) over all available networks for that call request (e.g., Invite signal from
operable to decide on       caller to server) without using the network operator's home or visitor location register.
the appropriate routing
to a third party end-user
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over all available
networks for that call
request without using
the network operator's
home or visitor location
register.




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23. A server for          The accused product discloses a server enabling a wireless handheld cellular phone device (e.g., Smartphone) to
enabling a wireless       communicate with the server (e.g., HCL Sametime Server) to initiate a network connection (e.g., SIP invite) without
handheld cellular phone   using a network operator's home location register that covers that region, wherein the server includes a software
device to communicate     application (e.g., software running at HCL Sametime server to route/manage calls) that functions as a calls manager.
with the server to
initiate a network
connection without
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using a network
operator's home location
register, wherein the
server includes a
software application that
functions as a calls
manager, wherein:




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(a) the wireless           The wireless handheld cellular phone device (e.g., Smartphone) is operable using a module (e.g., HCL Sametime
handheld cellular phone    application) that is responsible for contacting a server (e.g., HCL Sametime server) to communicate with the server
device is operable using   (e.g., HCL Sametime server) over a wireless link (e.g., Wi-Fi/Cellular link), wherein the wireless handheld cellular
a module that is           phone device (e.g., Smartphone) includes the module (e.g., HCL Sametime application) that is implemented as
responsible for            software and that is downloadable to the wireless handheld cellular phone device (e.g., Smartphone).
contacting the server to
communicate with the
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server over a wireless
link, wherein the device
includes the module that
is implemented as
software and that is
downloadable to the
device;




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(b) the wireless           The wireless handheld cellular phone device (e.g., Smartphone) is operable using the module (e.g., HCL Sametime
handheld cellular phone application) to send, over the wireless link (e.g., Wi-Fi/Cellular link), data to the server (e.g., HCL Sametime server)
device is operable using that defines a call request (e.g., Invite signal from caller to server).
the module to send, over
the wireless link, data to
the server that defines a
call request;
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(c) in response to the      In response to the call request (e.g., Invite signal from caller to server), call manager software (e.g., software
call request, the calls     pertaining to SIP proxy running at HCL server to route/manage calls) included on the server (e.g., HCL Sametime
manager software            Server) is operable to decide on the appropriate routing (e.g., Invite signal from server to callee) to a 3rd party end-
included on the server is   user (e.g., Other users using HCL Sametime) for that call request (e.g., Invite signal from caller to server) without
operable to decide on       using the network operator's home or visitor location register.
the appropriate routing
to a third party end-user
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over all available
networks for that call
request without using
that network operator's
home or visitor location
register.




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24. Computer program      The accused product discloses a computer program product (e.g., HCL Sametime) embodied on a non-transitory
product embodied on a     storage medium (e.g., Smartphone’s memory), the computer program product (e.g., HCL Sametime) when executing
non-transitory storage    on a wireless handheld cellular phone device (e.g., Smartphone) configured to enable the wireless handheld cellular
medium, the computer      phone device (e.g., Smartphone), when located in a region, to initiate a network connection (e.g., SIP Invite) without
program product when      using a network operator's home location register that covers that region.
executing on a wireless
handheld cellular phone
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device configured to      The accused product uses Internet or IP network for calling. Hence, it bypasses network operator’s home location
enable the wireless       register as Wi-Fi/Cellular or internet based calling does not require home location register (HLR).
handheld cellular phone
device, when located in
a region, to initiate a
network connection
without using a network
operator's home location
register that covers that
region, the computer
program product
configured to:




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(a) contact a server to   The accused product contacts a server (e.g., HCL Sametime Server) to communicate with the server (e.g., HCL
communicate with the      Sametime Server) over a wireless link (e.g., Wi-Fi/Cellular link).
server over a wireless
link, and
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(b) send, over the           The accused product sends, over the wireless link (e.g., Wi-Fi/Cellular link), data to the server (e.g., HCL Sametime
wireless link, data to the   Server) that defines a call request (e.g., Invite signal from caller to server).
server that defines a call
request;
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wherein, in response to    In response to the call request (e.g., Invite signal from caller to server), a software application (e.g., software running
the call request, a        at HCL Sametime server to route/manage calls) running on the server (e.g., HCL Sametime Server) decides on the
software application       appropriate routing (e.g., Invite signal from server to callee) to a 3rd party end-user (e.g., Other users using HCL
running on the server      Sametime) for that call request (e.g., Invite signal from caller to server) without using the network operator's home
decides on the             or visitor location register, and wherein the computer program product (e.g., HCL Sametime Mobile Client
appropriate routing to a   application) is downloadable to the wireless handheld cellular phone device (e.g., Smartphone).
3rd party end-user for
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that call request without
using the network
operator's home or
visitor location register,
and wherein the
computer program
product is downloadable
to the wireless handheld
cellular phone device.




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